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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON(s)


  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                              NINTH SPEEDY TRIAL REPORT

            Pursuant to Local Rule 88.5 and the Court’s Omnibus Order Setting Trial Date and

  Establishing Pretrial Instructions and Sentencing Procedures (ECF No. 28), both of which require

  the filing of Speedy Trial Reports, the United States hereby files this Speedy Trial Report regarding

  the status of this case under the Speedy Trial Act of 1984, 18 U.S.C. § 3161 et seq. (“Speedy Trial

  Act”).1

            In its July 21 Order Granting in Part Government’s Motion to Continue Trial and Resetting

  Deadlines (ECF No. 83), the Court excluded all of the time between the date of that Order and the

  trial date of May 20, 2024, pursuant to 18 U.S.C. § 3161(h)(7)(A). By Order dated August 21,

  2023 (ECF No. 128), the Court extended its earlier Order to Defendant De Oliveira. Last, by Order

  dated September 13, 2023 (ECF No. 154), the Court confirmed that the same Speedy Trial clock




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         Counsel for Defendants Trump, Nauta, and De Oliveira have reviewed this filing and
  have authorized the Government to represent that they concur with it.
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  applies to each defendant, that it has been tolled until May 20, 2024, and that 70 days remain on

  the Speedy Trial clock.

                                              Respectfully submitted,

                                              JACK SMITH
                                              Special Counsel


                                       By:    /s/ Jay I. Bratt
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                                CERTIFICATE OF SERVICE

        I, Jay I. Bratt, certify that on December 26, 2023, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF.


                                            /s/ Jay I. Bratt
                                            Jay I. Bratt




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